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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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  ESTERLIN SAMUEL,                                                       16 CV 4108 (NG)(ST)
                                       Plaintiff,                 STIPULATION OF DISMISSAL
  CITY OF NEW YORK, POLICE OFFICER,
  CHRISTOPHER PADIN individually and in his official
  capacity, and POLICE OFFICER JIMMY MALDONADO,
  individually and in his official capacity, and POLICE
                                                                                 PI CLERK'S OFFICE
  OFFICERS JOHN and JANE "DOES" individually and in                         U.S. DISTRICT COURT E.O.NX.
  their official capacities (said names being fictitious and
  meaning to represent New York City police officers whose                  * SEP07 2 *
  names and true identities are currently unknown to
  plaintiff)                                                                BROOKLYN OFFICE

  - ---------------------------------------------------------x


           WHEREAS, it is hereby stipulated and agreed by the undersigned that;


                    The above matter be dismissed with prejudice.




           July 282017



          JtFF10E OF ROBERT H PARKER                                        YW.cARTER
          Counsel for Plaintiff                                   Counsel for all Defendants
          Robert Parker, Esq
          6008 Eight Avenue                                                  ?



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